JS 44 (Rev. 04/21)                                                       CIVIL COVER SHEET
                          Case
The JS 44 civil cover sheet  and the2:24-mc-00159-DAD-CKD                          Document
                                     information contained herein neither replace nor supplement the1-1     Filed
                                                                                                    filing and service04/11/24          Page
                                                                                                                       of pleadings or other     1asofrequired
                                                                                                                                             papers      2 by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
         Deloraze Limited                                                                                   Kotaro Shimogori
   (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Michael Jason Lee (SBN 206110); Law Offices of Michael
       Jason Lee, APLC; 4660 La Jolla Village Drive, Ste. 100;
       San Diego, CA 92122; (858)550-9984
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                  and One Box for Defendant)
□ 1 U.S. Government                  □
                                     ✖ 3 Federal Question                                                                         PTF      DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State         □1        □ 1      Incorporated or Principal Place     □ 4 □4
                                                                                                                                                      of Business In This State

□2     U.S. Government               □4    Diversity                                               Citizen of Another State          □2    □ 2      Incorporated and Principal Place       □ 5     □5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                   Citizen or Subject of a           □3    □ 3 Foreign Nation                              □ 6     □6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                      Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                               FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
  110 Insurance                        PERSONAL INJURY               PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158      375 False Claims Act
  120 Marine                           310 Airplane               □ 365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal             376 Qui Tam (31 USC
  130 Miller Act                       315 Airplane Product             Product Liability             690 Other                                28 USC 157                 3729(a))
  140 Negotiable Instrument                 Liability             □ 367 Health Care/                                                         INTELLECTUAL             400 State Reapportionment
  150 Recovery of Overpayment          320 Assault, Libel &             Pharmaceutical                                                     PROPERTY RIGHTS            410 Antitrust
      & Enforcement of Judgment             Slander                     Personal Injury                                                   820 Copyrights              430 Banks and Banking
  151 Medicare Act                     330 Federal Employers’           Product Liability                                                 830 Patent                  450 Commerce
  152 Recovery of Defaulted                 Liability             □ 368 Asbestos Personal                                                 835 Patent - Abbreviated    460 Deportation
       Student Loans                   340 Marine                       Injury Product                                                        New Drug Application    470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product               Liability                                                         840 Trademark                   Corrupt Organizations
□ 153 Recovery of Overpayment               Liability              PERSONAL PROPERTY                           LABOR                      880 Defend Trade Secrets    480 Consumer Credit
      of Veteran’s Benefits            350 Motor Vehicle            370 Other Fraud                   710 Fair Labor Standards                                            (15 USC 1681 or 1692)
□ 160 Stockholders’ Suits
□ 190 Other Contract
                                       355 Motor Vehicle
                                           Product Liability
                                                                   B371 Truth in Lending
                                                                  □ 380 Other Personal
                                                                                                          Act
                                                                                                      720 Labor/Management
                                                                                                                                              Act of 2016

                                                                                                                                           SOCIAL SECURITY
                                                                                                                                                                      485 Telephone Consumer
                                                                                                                                                                          Protection Act
  195 Contract Product Liability       360 Other Personal               Property Damage                   Relations                       861 HIA (1395ff)            490 Cable/Sat TV
B 196 Franchise                            Injury
                                       362 Personal Injury -
                                                                  □ 385 Property Damage
                                                                        Product Liability
                                                                                                      740 Railway Labor Act
                                                                                                      751 Family and Medical
                                                                                                                                          862 Black Lung (923)
                                                                                                                                          863 DIWC/DIWW (405(g))
                                                                                                                                                                      850 Securities/Commodities/
                                                                                                                                                                          Exchange
                                           Medical Malpractice                                            Leave Act                       864 SSID Title XVI        ✖ 890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS                 790 Other Labor Litigation          865 RSI (405(g))            891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                    791 Employee Retirement                                         893 Environmental Matters
   220 Foreclosure                     441 Voting                   463 Alien Detainee                    Income Security Act             FEDERAL TAX SUITS           895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff       Act
   240 Torts to Land                   443 Housing/                     Sentence                                                               or Defendant)          896 Arbitration
   245 Tort Product Liability              Accommodations           530 General                                                           871 IRS—Third Party         899 Administrative Procedure
   290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                     IMMIGRATION                          26 USC 7609                Act/Review or Appeal of
                                           Employment               Other:                            462 Naturalization Application                                      Agency Decision
                                       446 Amer. w/Disabilities -   540 Mandamus & Other              465 Other Immigration                                           950 Constitutionality of
                                           Other                    550 Civil Rights                      Actions                                                         State Statutes
                                       448 Education                555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1
□
       Original
                         □
                             2 Removed from
                                                       □
                                                            3     Remanded from
                                                                                             □
                                                                                                 4 Reinstated or
                                                                                                                     □
                                                                                                                             5 Transferred from    6 Multidistrict
                                                                                                                                                   □                            □
                                                                                                                                                                                       8 Multidistrict
       Proceeding              State Court                        Appellate Court                  Reopened                    Another District        Litigation -                      Litigation -
                                                                                                                               (specify)               Transfer                          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28 U.S.C. §1782
VI. CAUSE OF ACTION Brief description of cause:
                                        Application to take discovery for use in a foreign proceeding
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:              □ Yes          □
                                                                                                                                                                                           ✖ No

VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                   DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
April 11, 2024                                                       /s/ Michael Jason Lee
FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                   APPLYING IFP                                       JUDGE                         MAG. JUDGE
JS 44 Reverse (Rev. 04/21)

                             Case 2:24-mc-00159-DAD-CKD Document 1-1 Filed 04/11/24 Page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
